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            EXHIBIT 10
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------X
RUBY FREEMAN and WANDREA’ MOSS                                                     No. 24-cv-6563(LJL)
                                                                                   No. 24-mc-353(LJL)
                          Plaintiffs,
                                                                               Defendant’s Second Amended
        -against-                                                              Initial Disclosures Pursuant to
                                                                              Federal Rules of Civil Procedure
RUDOLPH W. GIULIANI                                                                     Rule 26(a)(1)

                           Defendant.
--------------------------------------------------------------------------X

        Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Defendant by his

attorneys, Cammarata & De Meyer P.C. hereby provides the following second amended initial

disclosures. These second amended initial disclosures reflect the current knowledge of Defendant

and his counsel and are subject to and made without waiving Defendant’s right to assert any and

all objections as to competency, relevancy, materiality, privilege, work-product, use or

admissibility as evidence, for any purpose, of any of these second amended initial disclosures, or

of the subject matter of these initial disclosures, in this or in any subsequent proceeding.

Defendant further reserves the right to supplement, amend, correct, or otherwise modify these

initial disclosures as investigation and discovery are conducted.

    1. PERSONS WITH KNOWLEDGE
        FRCP 26(A)(i) the name and, if known, the address and telephone number of each

individual likely to have discoverable information—along with the subjects of that

information—that the disclosing party may use to support its claims or defenses, unless the

use would be solely for impeachment.




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RESPONSE:

Rudolph W. Giuliani
315 S. Lake Drive, Apt 5-D
Palm Beach Gardens, Florida 33480, is likely to have discoverable information regarding but not
limited to the Rudolph W. Giuliani moving to Florida as his permanent residence which he
actually and does actually occupy as his domicile.

Dr. Maria Ryan
418 Walnut Street
Manchester, New Hampshire 03104, is likely to have discoverable information regarding but not
limited to the Rudolph W. Giuliani moving to Florida as his permanent residence which he
actually and does actually occupy as his domicile.

Ryan Medrano
27 Maryland Plaza, Apt 1B
St. Louis, Missouri 63108
is likely to have discoverable information regarding but not limited to the Rudolph W. Giuliani
moving to Florida as his permanent residence which he actually and does actually occupy as his
domicile.

Michael Ragusa
Address unknown
is likely to have discoverable information regarding but not limited to the Rudolph W. Giuliani
moving to Florida as his permanent residence which he actually and does actually occupy as his
domicile.

Monsignor Alan Placa
200 Eagleston Estate Boulevard
Palm Beach Gardens, Florida 33418
is likely to have discoverable information regarding but not limited to the Rudolph W. Giuliani
moving to Florida as his permanent residence which he actually and does actually occupy as his
domicile.




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   2. DOCUMENTS
        FRCP 26(A) (ii) a copy—or a description by category and location—of all

documents, electronically stored information, and tangible things that the disclosing party

has in its possession, custody, or control and may use to support its claims or defenses,

unless the use would be solely for impeachment.

RESPONSE: The following are documents that Defendant has or will produce to Plaintiffs:

                 (a) Deed dated February 11, 2010 in the name of Rudolph W. Giuliani and Judith

S. Giuliani for the real property located at and known as Condominium Unit 5D, 315 S. Lake

Drive, Palm Beach, Florida;

                 (b) Deed dated January 14, 2020 in the name of Rudolph W. Giuliani for the real

property located at and known as Condominium Unit 5D, 315 S. Lake Drive, Palm Beach,

Florida;

                 (c) Exclusive Right to Sell – Cooperative Agreement between Rudolph W.

Giuliani and Sotheby’s International Realty dated July 12, 2023;

                 (d) Invoice #416642 from Corporate Transfer & Storage Inc. dated October 16,

2024;

                 (e) Application for Homestead and Related Tax Exemption;

                 (f) Notice of Proposed Property Taxes and Proposed or Adopted Non-Ad Valorem

Assessments;

                 (g) Real Estate Tax Bill from the Palm Beach County Tax Assessor / Collector;

                 (h) Declaration of Domicile filed in the Office of the Palm Beach County Clerk on

July 15, 2024;

                 (i) New York State Department of Taxation and Finance confirmation of no Star


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Credit;

               (i) New York Department of Finance confirmation of no Cooperative

Condominium Abatement;

               (i) Florida driver’s license of Rudolph W. Giuliani dated February 22, 2024;

               (j) Vehicle tag for 1980 Mercedes which bore Florida tag JA3414;

               (k) Voter registration in the State of Florida – voter registration number

132378699 dated May 17, 2024;

               (l) Personal Federal Income Tax Return for 2023 Redacted;

               (m) Calendar noting Defendants’ presence inside and outside the State of Florida

in 2024;

               (n) Photographs; and

               (o) Bank Statements;

   3. DAMAGES
          FRCP 26(A) (iii) a computation of each category of damages claimed by the

disclosing party—who must also make available for inspection and copying as under Rule

34 the documents or other evidentiary material, unless privileged or protected from

disclosure, on which each computation is based, including materials bearing on the nature

and extent of injuries suffered.

RESPONSE: Not applicable at this time.




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   4. INSURANCE AGREEMENTS
      FRCP 26(A) (iv) for inspection and copying as under Rule 34, any insurance

agreement under which an insurance business may be liable to satisfy all or part of a

possible judgment in the action or to indemnify or reimburse for payments made to satisfy

the judgment.

RESPONSE: None.

Dated: December 17, 2024
      Staten Island, New York
                                         s/ joseph m. cammarata /
                                         ____________________________
                                         Joseph M. Cammarata, Esq.
                                         Cammarata & De Meyer, P.C.
                                         Attorneys for Defendant Rudolph W. Giuliani
                                         456 Arlene Street
                                         Staten Island, New York 10314
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                                         Email: joe@cdlawpc.com




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